          Case 1:21-vv-00013-UNJ Document 37 Filed 07/25/22 Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-13V
                                        UNPUBLISHED


 MARIA NINO,                                                Chief Special Master Corcoran

                        Petitioner,                         Filed: June 23, 2022
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On January 4, 2021, Maria Nino filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table injury – Shoulder Injury
Related to Vaccine Administration (“SIRVA”) – as a result of her December 11, 2018
influenza (“flu”) vaccine. Petition at 1. Petitioner further alleges that the vaccine was
administered within the United States, that she suffered the residual effects of her injury
for more than six months, and that there has been no prior award or settlement of a civil
action on her behalf as a result of her injury. Petition at ¶¶ 1, 29-30. The case was
assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:21-vv-00013-UNJ Document 37 Filed 07/25/22 Page 2 of 2




       On June 13, 2022, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically,

       [i]t is respondent’s position that petitioner has satisfied the criteria set forth
       in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
       Interpretation (“QAI”) for SIRVA. 42 C.F.R. §§ 100.3(a)(XIV)(B),
       100.3(c)(10). Specifically, petitioner had no apparent history of pain,
       inflammation, or dysfunction of the affected shoulder prior to the
       vaccination that would explain the alleged signs, symptoms, examination
       findings, and/or diagnostic studies occurring after vaccination; petitioner
       more likely than not suffered the onset of pain within 48 hours of
       vaccination; petitioner’s pain and reduced ROM were limited to the
       shoulder in which the vaccine was administered; and no other condition or
       abnormality has been identified that would explain petitioner’s symptoms.
       42 C.F.R. § 100.3(a), (c)(10); see also 42 U.S.C. § 300aa-13(a)(1)(B).
       Petitioner is therefore entitled to a presumption of vaccine causation. See
       42 U.S.C. § 300aa-11(c)(1)(C)(i).

Id. at 6. Respondent further agrees that

       [w]ith respect to other statutory issues, the records show that the case was
       timely filed, 42 U.S.C. § 300aa-16(a)(2); that petitioner received the flu
       vaccine in the United States, 42 U.S.C. § 300aa-11(c)(1)(B)(i)(I); that the flu
       vaccine that petitioner received is set forth in the Vaccine Injury Table, 42
       C.F.R. § 100.3(a)(I)-(II); see also 42 U.S.C. § 300aa-14(c); that petitioner’s
       injury lasted for more than six months, 42 U.S.C. § 300aa-11(c)(1)(D)(i);
       and that petitioner has not filed a prior action or received any prior
       compensation or award for an injury related to this vaccine. 42 U.S.C. §
       300aa-11(c)(1)(E). Therefore, based on the record as it now stands,
       petitioner has satisfied all legal prerequisites for compensation under the
       Vaccine Act.

Id. at 6-7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                           s/Brian H. Corcoran
                                                           Brian H. Corcoran
                                                           Chief Special Master




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